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                            UNITED STATES BANKRUPTCY COURT
                          FOR THE WESTERN DISTRICT OF MICHIGAN


    In re:
                                                                    Chapter 11
    BARFLY VENTURES, LLC, et al,1                                   Case No. 20-01947-jwb
                                                                    Hon. James W. Boyd
                            Debtors.
                                                                    Jointly Administered
    ______________________________________/

    ORDER GRANTING DERIVATIVE STANDING TO THE OFFICIAL COMMITTEE
        OF UNSECURED CREDITORS TO PURSUE CAUSES OF ACTION ON
             BEHALF OF THE DEBTORS’ BANKRUPTCY ESTATES

             Upon the Stipulation to Entry of Order Granting Derivative Standing to the Official

Committee of Unsecured Creditors to Pursue Causes of Action on Behalf of the Debtors’

Bankruptcy Estates (the “Stipulation”) filed by the Debtors2 and the Committee; and the Court

having reviewed the Stipulation;

IT IS HEREBY ORDERED THAT:

             1.     The Committee is granted derivative standing and authority to prosecute the Sellers

Claims on behalf of the Debtors’ bankruptcy estates by, among other things, filing a proof of claim

in the Sellers Bankruptcy Case.



1
  The Debtors are: Barfly Ventures, LLC (8379), Barfly Management, LLC (6274), 9 Volt, LLC (d/b/a
HopCat)(1129), 50 Amp Fuse, LLC (d/b/a Stella’s Lounge)(3684), GRBC Holdings, LLC (d/b/a Grand
Rapids Brewing Company)(2130), E L Brewpub, LLC (d/b/a HopCat East Lansing)(5334), HopCat-Ann
Arbor, LLC (5229), HopCat-Chicago, LLC (7552), HopCat-Concessions, LLC (2597), HopCat-Detroit,
LLC (8519), HopCat-GR Beltline, LLC (9149), HopCat-Holland, LLC (7132), HopCat-Indianapolis, LLC
(d/b/a HopCat-Broad Ripple)(7970), HopCat-Kalamazoo, LLC (8992), HopCat-Kansas City, LLC (d/b/a
HopCat,-KC, LLC and Tikicat)(6242), HopCat-Lexington, LLC (6748), HopCat-Lincoln, LLC (2999),
HopCat-Louisville, LLC (0252), HopCat-Madison, LLC (9108), HopCat-Minneapolis, LLC (8622),
HopCat-Port St. Lucie, LLC (0616), HopCat-Royal Oak, LLC (1935), HopCat-St. Louis, LLC (6994), Luck
of the Irish, LLC (d/b/a The Waldron Public House, LLC and McFadden’s Restaurant Saloon)(4255).
2
    Capitalized terms not otherwise defined herein shall have the meaning given to them in the Stipulation.
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         2.     The Committee is authorized to take all actions it deems necessary or appropriate

 in connection with the authority granted in this Order, with the full rights and privileges of the

 Debtors including, but not limited to, the right to enter into settlement negotiations and, subject to

 court approval, to settle the Sellers Claims.

         3.     Except as otherwise expressly provided in the Stipulation and this Order, all parties

 reserve all of their rights, claims and defenses with respect to all matters, including with respect to

 the Sellers Claims. For the avoidance of doubt, nothing in this Order or the Stipulation shall in

 any way constitute an admission by the Debtors regarding the validity of the Sellers Claims.

         4.     This Court shall retain jurisdiction over all matters related to the interpretation,

 implementation, and enforcement of the Stipulation and this Order.

                                          END OF ORDER

 Order prepared and submitted by:

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IT IS SO ORDERED.

Dated September 17, 2020
